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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

 YURY REMEDIO                                       CIVIL ACTION

 versus                                             NO.: 6:21-cv-03527

 NOBLE DRILLING (U.S.), LLC                         DISTRICT JUDGE
 ET AL                                              ROBERT R. SUMMERHAYS

                                                    MAGISTRATE JUDGE
                                                    CAROL B. WHITEHURST



                                               ORDER

          Considering the foregoing Ex Parte Motion to Enroll Additional Counsel,

          IT IS HEREBY ORDERED that the motion be and hereby is granted. Jerome H.

 Moroux (La. Bar No. 32666) and the law firm Broussard & David, LLC are hereby enrolled as

 additional counsel of record for Claimant Yury Remedio.


          Lafayette, Louisiana, this 16th day of February, 2022.
